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1                               UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3      HOWARD LEE WHITE,
4                                                      3:18-cv-0037-MMD-CLB
                                   Plaintiff,
5         v.
                                                       ORDER
6      ROMEO ARANAS, et al.,
7
                                Defendants.
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9          Defendants entered a suggestion of death of the plaintiff on the record (ECF No. 36).
10   Pursuant to Fed. R. Civ. P. 25(a)(1), if a motion for substitution by the decedent’s successor
11   or representative is not filed on or before Wednesday, April 7, 2021, the action must be
12   dismissed.
13         DATED: January 11, 2020.
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                                                UNITED STATES MAGISTRATE JUDGE
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